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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN

MYLOCKER.COM LLC d/b/a                           Case No. 21-
CustomCat,
                                                 Hon.
            Plaintiff,
                                                 Magistrate Judge
v.

PRINTFUL, INC.,
            Defendant.


BODMAN PLC
By: J. Adam Behrendt (P58607)
      Melissa Benton Moore (P73018)
201 W. Big Beaver, Suite 500
Troy, MI 48084
(248) 743-6000
jbehrendt@bodmanlaw.com
mmoore@bodmanlaw.com
Attorneys for Plaintiff


                                   COMPLAINT
      Plaintiff MYLOCKER.COM LLC d/b/a CustomCat (“Plaintiff” or

“CustomCat”), for its Complaint against Defendant Printful, Inc. (“Defendant” or

“Printful”), hereby states and alleges as follows:

                           NATURE OF THE ACTION
      1.     Plaintiff CustomCat seeks monetary damages and injunctive relief

against Defendant Printful arising out of Defendant’s false advertising in violation

of Section 43 of the Trademark Act of 1946, 15 U.S.C. § 1125 (the “Lanham Act”);

unfair and deceptive practices in conduct of trade or commerce in violation of the


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Michigan Consumer Protection Act (the “MCPA”), MCL § 445.903; and false

advertising, injurious falsehoods, and business defamation under the common law

of Michigan.

                           JURISDICTION AND VENUE
      2.       The Court has jurisdiction over Plaintiff’s federal claims pursuant to 28

U.S.C. §§ 1331 and 1338.

      3.       The Court has supplemental jurisdiction over Plaintiff’s state law

claims pursuant to 28 U.S.C. § 1367(a) because the state law claims asserted

hereunder are so closely related to the federal claims brought in this action as to form

part of the same case or controversy.

      4.       This Court also has jurisdiction over this action under 28 U.S.C. § 1332

because there is complete diversity of citizenship between the parties and the amount

in controversy exceeds $75,000 exclusive of interest, costs, and attorney fees.

      5.       The Court has personal jurisdiction over Defendant because Defendant

intentionally targeted Plaintiff, a known resident of Michigan, with its conduct

described herein, knowing that the harm was likely to be suffered in Michigan.

      6.       Venue for this action is proper pursuant to 28 U.S.C. § 1391(b)(2) and

(3) because a substantial part of the events giving rise to the claims occurred in this

District and Defendant is subject to personal jurisdiction in this district.

                                       PARTIES
      7.       Plaintiff MyLocker d/b/a CustomCat is a Michigan limited liability
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company that maintains its principal place of business in Detroit, Michigan. The

members of MyLocker are Robert Hake, Inc. and The Bittker Group, LLC. Robert Hake,

Inc. is a Michigan corporation that maintains its principal place of business in Michiga n.

The Bittker Group, LLC is a Michigan limited liability company that maintains its principa l

place of business in Michigan. The members of The Bittker Group, LLC are Alan Bittker

and Sandy Bittker, both of whom reside in Michigan.

       8.     Defendant Printful is a Delaware Corporation that maintains its

principal place of business at 11025 Westlake Dr., Charlotte, North Carolina 28273.

                            GENERAL ALLEGATIONS
       9.     This Complaint arises out of Defendant’s false advertising and other

false and deceptive statements by Defendant and its affiliates, designed to divert

actual and potential sales and customers from Plaintiff to Defendant.

       10.    MyLocker is a manufacturer and online retailer of customized clothing

and other logo merchandise such as blankets, hats, bags, and facemasks. As a “print

on demand” (“POD”) fulfillment company, MyLocker allows its customers to

design and customize their products on its website to suit their individual needs and

to create their own stores to sell these products. After a customer designs its

customized products, the order is processed through MyLocker’s production facility

where the items are created, packaged, and eventually shipped to customers.

CustomCat is a division of MyLocker that also provides POD services.

       11.    Since its founding in 2006, CustomCat has achieved this success and

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ability to attract and retain customers due to its high quality products, hundreds of

customizable products and design options, fast fulfillment time (with an average

fulfilment time of 3 days or less), low prices (which allow it to pass along high profit

margins to its customers), excellent customer support services, and its product

personalization tool, among other things.

        12.    Printful also is a POD company that allows its customers to create and

sell custom products online. Printful is one of CustomCat’s direct competitors.

        13.    Printful has a history of publishing, soliciting, and promoting false,

misleading, and defamatory statements about CustomCat’s products and services

with the goal of diverting business away from CustomCat to Printful.

        14.    For example, Printful has solicited and rewarded its affiliates for

publishing misleading, deceptive, and defaming reviews concerning CustomCat.

These reviews have contained misrepresentations about, among other things,

CustomCat’s products, pricing, and payment options, and are intended to damage

CustomCat by diverting sales and customers away from CustomCat toward Printful.

        15.    Printful has an affiliate program through which it pays affiliates a

commission of 10% of every Printful order placed by customers they refer. 1




1Affiliate program, P RINTFUL, https://www.printful.com/affiliates; Printful Affiliate Marketing
Lessons, https://www.printful.com/affiliate-lessons.

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        16.   Through this program, Printful encourages its affiliates to advertise

Printful in a variety of ways including, among others, “[w]rit[ing] a blog post” that

includes “a comparison with other dropshipping or printing services,” sharing ads

on social media, 2 or “publish[ing] videos reviewing their experience with Printful”

on YouTube.3

        17.   In a September 25, 2021 review titled CustomCat vs. Printful – Best

Site to Sell T-Shirt Designs?, the author purported to compare both companies before

ultimately recommending his readers use Printful instead of CustomCat. 4 This

review contains several false and misleading statements. First, it states that “Unlike

Printful, CustomCat does not support credit card and debit card.” Further, it states

that “Printful accepts payments through PayPal, credit card or debit cards. On the

other hand, CustomCat allows your customers to make payments using either

Payoneer or PayPal.” These statements are false, as Customcat supports and takes

payments from credit and debit cards. Further, it states that “Printful also offers you

the ability to use their platform without any extra monthly fees. CustomCat charges

a bit more for people who are not paying $30 per month for their service.” This is

false, as CustomCat offers a free version that is much less expensive than Printful.


2 Nora Inveiss, How to Promote Your Printful Affiliate Link, P RINTFUL,
https://www.printful.com/blog/how-to-promote-your-printful-affiliate-link.
3 Affiliate program, P RINTFUL, https://www.printful.com/affiliates.

4
 Tom Clayton, CustomCat vs. Printful – Best Site to Sell T-Shirt Designs? RIGOROUS THEM ES
(Sept. 25, 2021), https://rigorousthemes.com/blog/customcat-vs-printful/.

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        18.    Similarly, in an August 9, 2021 review titled Customcat vs Printful

[2021]: Which Print on Demand Site is Best?, the reviewer purported to review both

companies and concluded that his readers should “start[] with Printful” rather than

CustomCat. 5 This review contains several false and misleading statements. For

instance, it states that one of the “[m]ain [d]ifferences” between CustomCat and

Printful is that “CustomCat has a paid plan, whereas Printful has no monthly fees.”

This is false and misleading, as CustomCat offers a free plan with no monthly fees.

It further states that “CustomCat’s items are slightly lower in cost, whereas Printful’s

items cost a little more.” This is misleading and vastly understates the difference in

the company’s prices. CustomCat’s prices were at the time of this review, and

continue to be, significantly—not slightly—lower than Printful’s. It further states

that “Printful offers a bigger range [of products] with more variations” than

CustomCat. This is false. CustomCat offers as many products and variations as

Printful. Finally, it states that “Printful requires a lower up front dollar commitment”

and “more customizable product options.” This is false, as CustomCat actually

requires a lower up front dollar commitment and a similar number of product options

as Printful.




5DMEditor, Customcat vs Printful [2021]: Which Print on Demand Site is Best? THE DIGITAL
MERCHANT (Aug. 9, 2021), https://thedigitalmerchant.com/ecommerce/print-on-
demand/customcat-vs-printful/.

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      19.    On information and belief, these reviews were created and published

by members of the Printful Affiliate Program. These affiliates had a financial

incentive to make false and misleading statements to influence their audience to use

Printful’s services rather than those of CustomCat.

      20.    Printful has known that its affiliate reviews sometimes contain false and

misleading statements about CustomCat since at least July 13, 2020, when

CustomCat sent Printful a cease and desist letter regarding false and misleading

affiliate reviews.

      21.    Printful’s history of condoning and rewarding affiliates for these false

reviews makes its recent false statements about CustomCat, described below,

particularly egregious.

False and Misleading Statements on Printful’s Website
      22.    Currently published on Printful’s website is a chart that purports to

compare various aspects of Printful’s business against those of its competitors,

including CustomCat, in an effort to drive business away from these competitors and

toward Printful. See Exhibit A.

      23.    Printful makes several false and misleading statements about

CustomCat in this chart.




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      24.    For example, Printful claims that, unlike Printful, CustomCat does not

offer “cut & sew” production services. This is false. CustomCat offers in-house cut

and sew services for its leggings and pillow products.

      25.    Printful also claims that, unlike Printful, CustomCat does not offer

customers the ability to live chat with customer support. This is false. CustomCat

offers customers the ability to live chat with customer support via Facebook

messenger.

      26.    Additionally, Printful claims that, unlike Printful, CustomCat does not

offer a product personalization tool for designing products. Again, this is false.

CustomCat began offering product personalization through a native text

personalization feature that integrates with Shopify in 2016—a year before Printful

started using the feature—making CustomCat the first POD company to use product

personalization.

      27.    Further, Printful makes false claims about CustomCat’s prices relative

to those of Printful. Printful claims that the most affordable black t-shirt available

for purchase from CustomCat costs $9.00, whereas the comparable product from

Printful costs $7.95. This is false and misleading. Although its pricing is dependent

on many factors, the most affordable t-shirt currently available for purchase from

CustomCat costs $7.00. In addition to its false claim about CustomCat’s prices,

Printful’s claim is misleading because the t-shirts it purports to compare in this chart


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are simply not comparable: Printful’s t-shirt comes in three color options, while

CustomCat’s comes in more than ten color options.

      28.    Printful also claims that, unlike Printful, CustomCat does not offer

sellers who use its services the option to use custom return addresses. This is false.

CustomCat does, and always has, offered custom return addresses to its sellers.

      29.    Finally, Printful claims that, unlike Printful, CustomCat does not offer

fulfillment services 24 hours per day. Yet again, this is false, as CustomCat operates

and provides fulfillment services 24 hours per day.

      30.    These false statements deceive and mislead consumers and have

damaged and continue to damage CustomCat by defaming CustomCat’s products

and services, diverting current and potential sales and customers away from

CustomCat and to Printful, and harming CustomCat’s reputation and goodwill.

False and Misleading Reviews by Printful
      31.    On information and belief, Printful also has a practice of soliciting and

manipulating false and misleading positive reviews with the goal of inflating its

brand rating, number of downloads, and reputation relative to its competitors,

including CustomCat.

      32.    By way of example, on information and belief, Printful incentivizes or

pays for positive reviews of its products and services on third-party websites, such




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as Shopify. It does so because a company’s rating determines its ranking in the

Shopify App Store.

      33.       On Shopify, customers are able to provide reviews of companies

including Printful and its competitors. The reviews include a rating out of five stars

as well as a text box in which a customer can write a substantive review. Once a

review is posted, other customers are able to click on a button to indicate that a

particular review was “helpful.” The number of people who have indicated that a

review was helpful then appears next to that review, and customers are given the

option to sort reviews by how “helpful” they are.

      34.       Currently on Shopify, there are reviews of Printful which purport to

award Printful five stars but are accompanied by nonsensical, and clearly unhelpful,

descriptions.

      35.       For example, one review, which was submitted on July 9, 2020, awards

Printful five stars and reads:




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      Three people voted that this review was helpful. See Exhibit B.

      36.    Another review, which was submitted on December 13, 2020, awards

Printful five stars and reads:




       One person voted that this review was helpful. See Exhibit C.

      37.    Another review, which was submitted on June 20, 2020, awards

Printful five stars and reads:




      One person voted that this review was helpful. See Exhibit D.

      38.    On information and belief, Printful paid for or gave incentives in

exchange for these reviews in order to boost its rating and consequently its ranking

in the Shopify App Store.


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      39.     Printful’s actions violate the Shopify App’s policies, which state in

relevant part: “Without limiting the restrictions outlined elsewhere in this Agreement

or in the Shopify API Terms, Developers will not: Solicit or permit reviews that are

fake, inaccurate, irrelevant, misleading, being used improperly for commercial gain,

posted in exchange for a financial or other gain, posted multiple times (whether from

the same or more than one account), misleading as to the reviewer’s identity or their

connection to the Application or Theme being reviewed, or reviews that contain or

link to prohibited or illegal content. Reviews on the Shopify App Store and Shopify

Theme Store are meant to be unbiased, useful and trustworthy. Shopify reserves the

right to take any action it deems necessary in respect of a Partner engaged in any of

this behaviour, including the right (but not the obligation) to remove or edit

reviews.” 6

      40.     On information and belief, Printful’s actions have misled and continue

to mislead consumers into believing that Printful’s rating is higher than it would be

without these fake reviews.

      41.     On information and belief, these false and misleading statements have

improperly diverted consumers to Printful away from its competitors, including

CustomCat.


6 Partner Program Agreement, SHOPIFY,
https://www.shopify.com/partners/terms?itcat=partner_blog&itterm=get_reviews_for_your_shop
ify_apps

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      42.       Further, on information and belief, Printful has employed a misleading

and improper practice in which it misleadingly boosts positive reviews of Printful.

      43.       This scheme is evidenced by the fact that certain Printful reviews,

including those discussed in paragraphs 35-37, plainly are not helpful to consumers

yet have been indicated to be “helpful.”

      44.       On information and belief, Printful directed its employees or agents to

vote for 5-star reviews as helpful in order to improperly and deceptively mislead

consumers into giving more weight to these reviews because they think real Printful

customers agreed with them.

      45.       On information and belief, Printful’s actions have misled and continue

to mislead consumers into believing that customers read these 5-star reviews and

found them helpful in making purchasing decisions, when in fact real customers did

not indicate that these reviews were helpful.

      46.       On information and belief, these false and misleading statements have

improperly diverted consumers to Printful away from its competitors, including

CustomCat.

                                  COUNT I
      False Advertising under the Lanham Act, 15 U.S.C. § 1125(a)(1)(B)
      47.       Plaintiff realleges and incorporates all above paragraphs as if fully set

forth herein.



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        48.   Defendant’s false and misleading statements about Plaintiff constitute

false and misleading advertising under the Lanham Act in violation of 15 U.S.C. §

1125(a)(1)(B) in that they misrepresent the characteristics and qualities of Plaintiff’s

goods and services.

        49.   Defendant’s false and misleading statements constitute false and

misleading statements of fact which have deceived or have the capacity to deceive

customers.

        50.   Defendant’s false and misleading statements are material to consumers,

who select between competing services based on, in material part, prices, customer

service, ease of use, quality of and options regarding goods, design, production,

fulfillment times, and ratings and reviews from other users.

        51.   On information and belief, Defendant’s false and misleading statements

were made in, and have a substantial impact on, interstate commerce.

        52.   On information and belief, Defendant’s false and misleading statements

have caused competitive injury to Plaintiff through the diversion of sales and

customers from Plaintiff to Defendant and harm to Plaintiff’s business reputation

and goodwill.

        53.   On information and belief, as a proximate result of Defendant’s false

and misleading statements, Plaintiff has suffered damages in an amount to be proved

at trial.


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      54.       Additionally, Defendant’s conduct has caused Plaintiff to suffer, and

will continue to cause Plaintiff to suffer, immediate and irreparable injury not

compensable by money damages, thereby entitling Plaintiff to injunctive relief.

      55.       Defendant’s conduct constitutes deliberate and intentional violations of

15 U.S.C. § 1125(a) such that is an exceptional case under the Lanham Act entitling

Plaintiff to attorneys’ fees and costs.

                                      COUNT II
                        False Advertising under Michigan Law
      56.       Plaintiff realleges and incorporates all above paragraphs as if fully set

forth herein.

      57.       Defendant’s false and misleading statements constitute false

advertising under Michigan common law.

      58.       Defendant’s false and misleading statements misrepresent the

characteristics and qualities of Plaintiff’s goods and services.

      59.       Defendant’s false and misleading statements have deceived or have the

capacity to deceive customers.

      60.       Defendant’s false and misleading statements are material to consumers,

who select between competing services based on, in material part, prices, customer

service, ease of use, quality of and options regarding goods, design, production,

fulfillment times, and ratings and reviews from other users.



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        61.     On information and belief, Defendant’s false and misleading statements

were made in, and have a substantial impact on, interstate commerce.

        62.     On information and belief, Defendant’s false and misleading statements

have caused competitive injury to Plaintiff through the diversion of sales and

customers from Plaintiff to Defendant and harm to Plaintiff’s business reputation

and goodwill.

        63.     On information and belief, as a proximate result of Defendant’s false

and misleading statements, Plaintiff has suffered damages in an amount to be proved

at trial.

                                COUNT III
   Violation of the Michigan Consumer Protection Act, MCL § 445.903
        64.     Plaintiff realleges and incorporates all above paragraphs as if fully set

forth herein.

        65.     Defendant’s false and misleading statements constitute unfair,

unconscionable, or deceptive methods, acts, or practices in conduct of trade or

commerce in violation of the Michigan Consumer Protection Act, MCL § 445.903.

        66.     Defendant’s false and misleading statements have disparaged, and

continue to disparage, Plaintiff’s goods, services, and business by conveying false

negative information about Plaintiff’s prices, products, production and design,

customer service, fulfillment, user ratings and reviews relative to Defendant, and

more.

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      67.       On information and belief, as a proximate result of Defendant’s false

and misleading statements, Plaintiff has suffered damages in an amount to be proved

at trial due to the diversion of sales and customers from Plaintiff to Defendant and

injury to Plaintiff’s business reputation and goodwill.

                                     COUNT IV
                      Injurious Falsehood under Michigan Law

      68.       Plaintiff realleges and incorporates all above paragraphs as if fully set

forth herein.

      69.       Defendant’s false and misleading statements about Plaintiff constitute

injurious falsehoods under Michigan common law in that they are false statements

about the nature and quality of Plaintiff’s goods and services, published on

Defendant’s website and other third-party websites.

      70.       On information and belief, Defendant knew these statements were false

or acted with reckless disregard for their truth or falsity.

      71.       Defendant knew or should have known that the publication of these

false and misleading statements would likely result in pecuniary loss or in harm to

interests of the Plaintiff having a pecuniary value, because these statements were

likely to divert sales and customers from Plaintiff to Defendant and cause injury to

Plaintiff’s business reputation and goodwill.

      72.       On information and belief, Plaintiff has suffered money damages in an

amount to be proved at trial because Defendant’s false statements have diverted and

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will likely continue to divert sales and customers from Plaintiff to Defendant and

cause injury to Plaintiff’s business reputation and goodwill.

                                    COUNT V
                      Business Defamation under Michigan Law
      73.       Plaintiff realleges and incorporates all above paragraphs as if fully set

forth herein.

      74.       Defendant’s false and misleading statements about Plaintiff constitute

business defamation in that they constitute false and defamatory statements

concerning Plaintiff.

      75.       Defendant’s false and misleading statements about Plaintiff were

unprivileged and made to third parties.

      76.       Defendants made and published these statements either knowingly, or

at least negligently, because they knew or should have known they were false and

misleading.

      77.       On information and belief, this has and will likely cause injury to

Plaintiff in the form of money damages due to this diversion of sales and customers

and injury to Plaintiff’s business reputation and goodwill.

                                RELIEF REQUESTED
      Plaintiff respectfully requests that the Court enter judgment in its favor against

Defendant, and that the Court:



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      A.      Enter a preliminary and permanent injunction, pursuant to 15 U.S.C. §

1125(a):

                 i. Requiring Defendant and its affiliates, agents, employees,

                    contractors, representatives, and/or all other persons acting in

                    concert or participation with Defendant, to remove false or

                    misleading statements about Plaintiff from Defendant’s website

                    and all other platforms on which they appear;

                ii. Prohibiting Defendant and all of its affiliates, agents, employees,

                    contractors, representatives, and/or all other persons acting in

                    concert or participation with Defendant, from: (a) making or

                    promoting false or misleading statements about Plaintiff on their

                    website or any other platform; (b) soliciting others to make false

                    or misleading statements about Plaintiff; and (c) engaging in any

                    other act in derogation of Plaintiff’s rights.

      B.      Enter an order, pursuant to 15 U.S.C. § 1117(a), MCL § 445.903, and

Michigan common law, awarding Plaintiff: (a) Plaintiff’s actual damages to be

proven at trial; (b) Defendant’s profits, (c) Plaintiff’s reasonable attorneys’ fees and

costs of this action; (d) compensatory and punitive damages; (e) pre- and post-

judgment interest; and (f) such other and further relief as the Court may deem just

and proper.


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Dated:     December 8, 2021        Respectfully Submitted,

                                   BODMAN PLC

                                   By: /s/ J. Adam Behrendt
                                   J. Adam Behrendt (P58607)
                                   Melissa Benton Moore (P73018)
                                   201 W. Big Beaver Road, Suite 500
                                   Troy, MI 48084
                                   Tel: (248) 743-6000
                                   abehrendt@bodmanlaw.com
                                   mmoore@bodmanlaw.com
                                   Attorneys for Plaintiff




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